                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE



In re                                                Chapter 11

J&M SALES INC., et al.,                              Case No. 18-11801 (LSS)

                       Debtors1                      Jointly Administered

                                                     Re: Doc. Nos. 710, 719, 778, 819, 840




STIPULATED ORDER RE: CREDIT AND DEBIT CARD PROCESSING
        This matter coming before the Court on (i) Debtors’ Motion for Entry of Order Awarding

Damages for Willful Violations of the Automatic Stay (the “Stay Violation Motion”) [Dkt. No.

710], (ii) Priority Payment Systems’ (“Processor”) and Swipe Payment Solutions’ (“Swipe”)

Motion for (I) Order Determining that Automatic Stay Does Not Apply, or in the Alternative, for

Relief from the Automatic Stay, (II) Adequate Protection, and (III) Order Compelling Debtors to

Assume or Reject Merchant Processing Agreement [Dkt No. 719] (the “Processor Motion”, and

collectively with the Stay Violation Motion, the “Motions”), and (iii) the informal request for relief

in connection with the Motions (the “Pegasus Request”) of Pegasus Trucking, LLC (“Pegasus”);
and the Court having reviewed the Motions and the Pegasus Request, and having considered the

statements of counsel and the evidence adduced with respect to the Motions and Pegasus Request

at hearings and/or status conferences before the Court on November 16, 19, 20, and 21, 2018 (the

“Hearings”); and the Court having found that (i) the Court has jurisdiction over this matter pursuant

1
  The Debtors in the above-captioned chapter 11 cases (“Debtors”), along with the last four digits
of each Debtor’s federal tax identification number, are: J & M Sales Inc. (4697); National Stores,
Inc. (4874); J & M Sales of Texas, LLC (5979); FP Stores, Inc. (6795); Southern Island Stores,
LLC (8099); Southern Island Retail Stores LLC (4237); Caribbean Island Stores, LLC (9301);
Pazzo FNB Corp. (9870); Fallas Stores Holdings, Inc. (6052); and Pazzo Management LLC
(1924). The location of the Debtors’ service address is 15001 South Figueroa Street, Gardena,
California 90248.
                                               -1-
to 28 U.S.C. 157 and 1334; (ii) venue is proper in this district pursuant to pursuant to 28 U.S.C. §

1409, (iii) this is a core proceeding pursuant to 28 U.S.C. § 157(b), and (iv) notice of the Motion

and the Hearing was sufficient under the circumstances; and Debtors, Processor, Swipe and

Pegasus having agreed to the terms of this Order,

   THE COURT MAKES THE FOLLOWING FINDINGS:

       A.      On or about March 14, 2014, certain Debtors and Processor entered into certain

               Merchant Application and Processing Agreements (collectively, the “MPA”).

               Pursuant to the MPA, Processor provided and continues to provide credit and debit
               card processing services to Debtors. The current sponsoring bank under the MPA

               is Citizens Bank (the “Sponsoring Bank”).

       B.      On or about December 22, 2017, Debtors learned of an apparent data breach of

               Debtors’ credit and debit card processing systems (the “Data Breach”) that occurred

               earlier in the year, in which consumer data of certain of Debtors’ credit and debit

               card customers may have been compromised.

       C.      On August 6, 2018 (the “Petition Date”), Debtors filed chapter 11 bankruptcy in

               this Court (the “Bankruptcy Cases”).

       D.      By Order dated October 17, 2018, Debtors sold certain of their store locations (as

               of the date of such sale, which was October 19, 2018, the “Pegasus Locations”) in

               a going-concern sale to Pegasus (the “Pegasus Sale”). In connection with the

               Pegasus Sale, Debtors and Pegasus entered into a Transition Services Agreement

               (the “TSA”), which was filed with the Court on November 19, 2018 [Dkt. No. 843].

               Debtors assert that under the TSA, Debtors are entitled to process and are

               processing credit and debit card transactions for the Pegasus Locations under the

               MPA. Processor and Swipe dispute Debtors’ assertion.

       E.      As of November 21, 2018, Processor is holding in a reserve 100% of credit and

               debit card sales by Pegasus at the Pegasus Locations between the date of the closing

                                                -2-
               of the Pegasus Sale and November 21, 2018 (the “Existing Pegasus Reserve”). The

               parties disagree whether Swipe and/or Processor are entitled to withheld any of the

               Existing Pegasus Reserve.

       F.      The Debtors, Processor, Swipe and Pegasus have conferred regarding their

               disagreements with respect to the reserving of funds at the Pegasus Locations and

               have agreed to the terms as set forth below in resolution of all such disagreements;

               now therefore,

   IT IS HEREBY ORDERED THAT:
       1.   Processor, Swipe, Debtors and Pegasus agree, and the Court orders, that any go-

forward processing for the merchant accounts associated with the Pegasus Locations will be done

through such existing merchant accounts on file with Processor. Debtors and Pegasus represent

that the ownership of the merchant accounts associated with the Pegasus Locations has not

changed and are the same as the existing accounts under the MPA, and Pegasus has no existing

merchant accounts on file with Processor. With respect to Processor and Sponsoring Bank, such

accounts cannot, and are not, deemed to be new accounts and there shall be no new merchant

application from Pegasus. The merchant accounts associated with the Pegasus Locations are

existing accounts under the MPA.

       2.      Upon entry of this Stipulated Order, Processor will (i) continue processing for the

merchant accounts associated with the Pegasus Locations through December 31, 2018, (ii) with

respect to the Existing Pegasus Reserve, retain $1 million therefrom (the “$1 Million Reserve”) in

accordance with the terms of the MPA with respect to the Pegasus Locations, and (iii) remove the

current hold on the merchant accounts associated with the Pegasus Locations and release the

balance of the Existing Pegasus Reserve in excess of the $1 Million Reserve (i.e., all amounts in

excess of $1 million) to the Debtors’ merchant accounts associated with the Pegasus Locations.

                                               -3-
For avoidance of doubt, Processor will retain $1 million from the Existing Pegasus Reserve and

release the entire remaining balance of the Existing Pegasus Reserve in excess of the $1 Million

Reserve to the Debtors’ merchant accounts associated with the Pegasus Locations. Processor

represents that, in accordance with the Debtor’s MPA, the Existing Pegasus Reserves are held in

a reserve account at the Sponsor Bank. Upon entry of this Order by the Court, Processor shall

promptly notify the Sponsor Bank and remit instructions to the Sponsor Bank requesting release

of the remaining balance of the Existing Pegasus Reserve in excess of the $1 Million Reserve.

Then, upon confirmation from the Sponsor Bank, the Processor shall promptly via wire transfer,

pursuant to the same wire instructions that Processor has for Debtors, release said remaining

balance of the Existing Pegasus Reserve in excess of the $1 Million Reserve promptly to the

Debtors. After such transfer is made all future transfer shall be made in accordance with historical

practices under the terms of the MPA.

       3.      Going forward, Processor shall be entitled to capture, in addition to all fees and

charges provided under the MPA, a daily reserve of 15% of the daily credit volume of and debit

card transactions for the merchant accounts associated with the Pegasus Locations, up to $650,000

in new reserves (the “Go-Forward Reserve”) on top of the $1 Million Reserve (collectively, the

Go-Forward Reserve and the $1 Million Reserve shall be referred to as the “Total Pegasus

Reserves”), for a Total Pegasus Reserves of $1,650,000. Priority shall be entitled to utilize the

Total Pegasus Reserves in accordance with the terms and conditions of the MPA to cover all losses

on the merchant accounts related to processing at the Pegasus Locations from the closing of the

Pegasus Sale (October 19, 2018) through December 31, 2018, including but not limited to: (i)

chargebacks, (ii) card association, Sponsor Bank, and regulatory fines, fees, penalties, and

assessments, and (iii) all other fees and charges of all kinds related to processing for the merchant

                                                 -4-
accounts associated with the Pegasus Locations in accordance with the terms and conditions of the

MPA. After the Total Pegasus Reserves are reached, all sums processed will be remitted to the

Debtors net of regular fees and charges provided under the MPA in accordance with the terms and

conditions of the MPA. Nothing in this Order shall diminish or curtail the respective rights and

obligations of the parties under the Bankruptcy Code and/or the MPA, including, without

limitation, the applicable provisions of the MPA with respect to the types of losses described in

this paragraph arising during the time period referenced in this paragraph.

       4.      All processing for all merchant accounts related to the Pegasus Locations and all of

Debtors’ other merchant accounts processed under the MPA, without exception or limitation, shall

terminate on December 31, 2018. After December 31, 2018, Processor and Swipe shall have no

obligation to process or otherwise provide customer service or support for any transaction for any

of Debtors’ merchant accounts (including the Pegasus Locations and the merchant accounts that

do not relate to the Pegasus Locations), except to the extent provided under the MPA for

transactions that occur on or before December 31, 2018.

       5.      Processor shall hold the Total Pegasus Reserves for 180 days following the

December 31, 2018 termination of processing services, i.e., through June 30, 2019, and Processor

may utilize such Total Pegasus Reserves to cover any losses as described in Paragraph 3, above.

At any time during or after such 180 day period, (i) this Court shall retain jurisdiction over any

disputes regarding the terms of this Order and the Total Pegasus Reserves, and (ii) any party may

make a motion on regular notice under the Local Bankruptcy Rules for the District of Delaware

related to any matter with respect to this Order and the Total Pegasus Reserves, and any disputes

that arise in connection therewith.



                                                -5-
       6. Processor, Swipe, Debtors and Pegasus hereby waive and release all claims that any

            such party has or may have related in any manner to the handling of the merchant

            accounts associated with the Pegasus Locations including all claims that have been or

            may be asserted: (a) by Pegasus and Debtors against Processor, Swipe and Sponsor

            Bank with respect to the merchant accounts associated with the Pegasus Locations with

            exception of rights and liabilities arising under (i) the MPA, and (ii) this Order and the

            provisions hereof provided however, any release of Sponsor Bank in this paragraph

            6(a) shall become null and void and of no further force or effect and all such rights shall

            be restored, if Sponsor Bank (or any successor or assign or other party asserting any

            claim of Sponsor Bank) threatens, asserts or brings any claim or cause of action with

            respect or in any way related to the merchant accounts associated with the Pegasus

            Locations with the exceptions of claims or causes of action relating to rights and

            liabilities arising under the (i) MPA, and (ii) this Order and the provisions hereof; and

            (b) by Processor and Swipe against Pegasus and Debtors with respect to the merchant

            accounts associated with the Pegasus Locations with exception of rights and liabilities

            arising under (i) the MPA, and (ii) this Order and the provisions hereof. For avoidance

            of doubt, the waiver and release by Debtors is related only to claims regarding the

            withholding by Processor of funds with respect to the Pegasus Locations.

       7.      Debtors, Processor and Swipe reserve any and all of their rights, claims, remedies

and defenses with respect to the Motions except as expressly provided in paragraph 6, above, of

this Order. Nothing in this Order authorizes, or results in, the assumption, assignment or rejection

of the MPA, or modifies the automatic stay (except as expressly provided in this Order) in effect

in these cases in any respect.

                                                  -6-
       8.      This Court shall retain jurisdiction to hear and determine all matters arising from

or relating to the implementation, interpretation, and enforcement of this Order.




                                                -7-   LAURIE SELBER SILVERSTEIN
      Dated: November 23rd, 2018
      Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE
